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                                   IN THE UNITED STATES DISTRICT COURT

                                    FOR THE EASTERN DISTRICT OF TEXAS

                                                       TYLER DIVISION

 UNITED STATES OF AMERICA                                           §

 Vs.                                                                §      CRIMINAL ACTION NO. 6:09CR18

 ERIC FERNANDO REYES                                                §

                                      REPORT AND RECOMMENDATION
                                   OF UNITED STATES MAGISTRATE JUDGE


           On February 17, 2010, the Court referred an ancillary forfeiture proceeding in the above-

 styled case to the undersigned. Specifically, the Court referred a Petition for Remission or

 Mitigation of Forfeiture filed by Angel Torres on behalf of Irving Trucks on July 13, 2009

 (document #177).

           On March 10, 2010, Angel Torres filed a letter stating that he and Irving Trucks abandon any

 claim and interest in the property seized from Eric Fernando Reyes. The Petition for Remission or

 Mitigation of Forfeiture referenced a 2007 Chevrolet C1500 Suburban VIN #3GNFC16J07G115816.

 Torres states that “[i]t is no longer in our best interest to continue the ancillary forfeiture

 proceeding.” The letter is construed as a motion to voluntarily dismiss the Petition for Remission

 or Mitigation of Forfeiture. Accordingly, the petition filed by Angel Torres should be dismissed.

                                                         Recommendation

           It is recommended that the motion to voluntarily dismiss the Petition for Remission or

 Mitigation of Forfeiture (document #280) be granted and that the Petition for Remission or

 Mitigation of Forfeiture filed by Angel Torres on behalf of Irving Trucks on July 13, 2009


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 (document #177) be dismissed.

           Within fourteen days after receipt of the magistrate judge's report, any party may serve and

 file written objections to the findings and recommendations of the magistrate judge.

           A party’s failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after service shall bar that party from de novo review by the

 district judge of those findings, conclusions and recommendations and, except upon grounds of plain

 error, from attacking on appeal the unobjected-to proposed factual findings and legal conclusions

 accepted and adopted by the district court. Douglass v. United Services Auto. Assn., 79 F.3d 1415,

 1430 (5th Cir. 1996) (en banc).

                So ORDERED and SIGNED this 11 day of March, 2010.



                                                                           ____________________________
                                                                           JUDITH K. GUTHRIE
                                                                           UNITED STATES MAGISTRATE JUDGE




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